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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                           Chief Judge Philip A. Brimmer

Civil Action No. 18-mc-00031-PAB

MEDICINAL WELLNESS CENTER, LLC, a Colorado limited liability company,
MEDICINAL OASIS, LLC, a Colorado limited liability company,
MICHAEL ARAGON, an individual,
JUDY ARAGON, an individual, and
STEVEN HICKOX, an individual,

      Petitioners,

v.

UNITED STATES OF AMERICA, through its agency the Internal Revenue Service,

     Respondent.
_____________________________________________________________________

                                ORDER
_____________________________________________________________________

      This matter is before the Court on petitioners’ Amended Petition to Quash

Summonses [Docket No. 12] and the United States’ Motion to Dismiss Amended

Petition and Enforce Summonses [Docket No. 15].

I. BACKGROUND

      This case is an extension of a dispute between a group of petitioners and the

IRS over their tax audits. See Medicinal Wellness Center, LLC v. United States, No.

17-mc-00170-PAB (“Medicinal Wellness Center I”). The Internal Revenue Service

(“IRS”) is conducting a civil audit of petitioners Medicinal Wellness Center, LLC, and

Medicinal Oasis, LLC’s tax liability for fiscal years 2014, 2015, and 2016. Docket No.

15-1 at 2, ¶ 4. Petitioners Michael Aragon, Judy Aragon, and Steven Hickox owned

these two entities in those years. Id. Because the two entities elected to be treated as
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pass-through entities for tax purposes, the results of an audit could affect their owners’

income taxes. As a result, the IRS opened civil audits of the 2014, 2015, and 2016

returns for the Aragons and Mr. Hickox. Id. In Medicinal Wellness Center I, Tyler

Pringle, an IRS revenue agent, informed petitioners that his department had made a

determination that petitioners were trafficking in a controlled substance and that he

sought records to establish the extent of petitioners’ activities. Medicinal Wellness

Center I, Docket No. 1 at 4 and Docket No. 3-1 at 3, ¶ 12. In response to Rev enue

Agent Pringle’s requests, petitioners provided only “minimal, incomplete, and redacted

financial and other records.” Id., Docket No. 3-1 at 4, ¶ 13. Revenue Agent Pringle

issued summonses to Colorado’s Marijuana Enforcement Division (“MED”), seeking

“books, records, papers, and other data, including METRC [Marijuana Enforcement

Tracking Reporting and Compliance] annual gross sales reports, transfer reports,

annual harvest reports, and monthly plants inventory reports.” Id. at 4-5, ¶ 17. While

Medicinal Wellness Center I was pending before this Court, the IRS expanded its audit

to include the 2016 tax year and issued additional summonses to the MED for 2016.

Docket No. 15-1 at 3, ¶ 9. 1 Petitioners now seek to quash those summonses, Docket

No. 12, and the government seeks to enforce the summonses. Docket No. 15.

II. DISCUSSION

       In order to enforce a summons, the IRS must show that the “investigation will be

conducted pursuant to a legitimate purpose, that the inquiry may be relevant to the



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         The Court issues its order in Medicinal Wellness Center I, denying petitioners’
petition to quash and granting the government’s motion to dismiss, simultaneously with
this order.

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purpose, that the information sought is not already within the [IRS] Commissioner’s

possession, and that the administrative steps required by the [Tax] Code have been

followed—in particular, that the ‘Secretary [of the Treasury] or his delegate,’ after

investigation, has determined the further examination to be necessary and has notified

the taxpayer in writing to that effect.” United States v. Powell, 379 U.S. 48, 57-58

(1964).2 The IRS’s burden “is a slight one because the statute must be read broadly in

order to ensure that the enforcement powers of the IRS are not unduly restricted.”

United States v. Balanced Fin. Mgmt., Inc., 769 F.2d 1440, 1443 (10th Cir. 1985)

(citation omitted). “The requisite showing is generally made by affidavit of the agent

who issued the summons and who is seeking enforcement.” Id. (internal quotation

marks omitted).3

       If the IRS makes the prima facie showing required under Powell, the burden

shifts to the party resisting enforcement, whose “burden is a heavy one.” Balanced Fin.



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          Additionally, the IRS is barred from issuing or enforcing summonses under the
Internal Revenue Code “with respect to any person if a Justice Department referral is in
effect with respect to such person.” 26 U.S.C. § 7602(d) (I.R.C. § 7602(d)). Petitioners
do not dispute Revenue Agent Pringle’s declaration that there is no Justice Department
referral in effect in relation to them. See Docket No. 15-1 at 5, 7, ¶¶ 22, 30.
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         Petitioners assert that the Court cannot consider the declaration f rom Revenue
Agent Pringle without converting their motion to dismiss into a motion for summary
judgment. Docket No. 16 at 2. When, in a summons enforcement proceeding, the
issue is whether the government presented a prima facie case under Powell, the
traditional summary judgment standard applies. High Desert Relief, Inc. v. United
States, 917 F.3d 1170, 1180 (10th Cir. 2019) (applying Jewell v. United States, 749
F.3d 1295, 1297 n.1 (10th Cir. 2014)). However, a taxpayer must factually oppose the
government’s allegations by affidavit or present a proper affirmative defense to defeat
the government’s prima facie case. Id. at 1183. “The traditional summary-judgment
standard [does] not permit [petitioners] to rest on conclusory statements in the
summary judgment record.” Id. at 1181.

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Mgmt., Inc., 769 F.2d at 1444 (citing United States v. Garden State National Bank, 607

F.2d 61, 68 (3d Cir. 1979)). The party resisting enforcement must establish a defense,

show a lack of good faith on the part of the IRS, or “prove that enforcement would

constitute an abuse of the court’s process.” Id. (internal quotation marks omitted).

       A. Legitimate Purpose

       The government provides a declaration from Revenue Agent Pringle stating that

he served the summonses in relation to “examinations of the federal tax liabilities” of

petitioners and that petitioners operate at least one m arijuana retail dispensary and two

marijuana grow facilities, where they sell medicinal and recreational marijuana. Docket

No. 15-1 at 2, ¶ 4-6. The government argues that its investigation of whether

petitioners’ income derives from the sale of marijuana is a legitimate purpose in light of

the bar on deductions and credits for businesses trafficking in controlled substances

under Internal Revenue Code § 280E. Docket No. 15 at 7.

       Petitioners argue that the summonses do not have a legitimate purpose because

Congress did not empower the IRS to investigate violations of federal criminal drug

laws. Docket No. 12 at 16-18. The Court rejects this argument. See Medicinal

Wellness Center I at 4-5; Green Sol. Retail, Inc. v. United States, 855 F.3d 1111, 1121

(10th Cir. 2017) (“[I.R.C.] § 280E has no requirement that the Department of Justice

conduct a criminal investigation or obtain a conviction before § 280E applies.”). The

Court also rejects petitioners’ argument that § 280E raises Fifth Amendment issues

requiring the IRS to grant petitioners absolute immunity before enforcing the

summonses. See Medicinal Wellness Center I at 5-6. Therefore, the Court finds that



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the government has met its burden to show that its investigation of petitioners is being

conducted for a legitimate purpose.

       B. Relevant to the Legitimate Purpose

       The government argues that the information it seeks is relevant because it will

“shed light on [petitioners’] correct income . . . by substantiating, or contradicting sales

and inventory figures.” Docket No. 15 at 8. Revenue Agent Pringle’s declaration

explains that the information it seeks “can establish whether a marijuana business

properly reported its gross receipts and allowed deductions for cost of goods sold.”

Docket No. 15-1 at 4, ¶ 13. Petitioners argue that “the [g]overnment has already

conceded that METRC information is not relevant to a determination of income and

expenses.” Docket No. 12 at 18. In support of this conclusion, petitioners point to what

appears to be a lead sheet completed by an individual IRS agent. See Docket No. 12-

25. As the government points out, the IRS articulates its positions through formal

statements of policy, not through statements of individual agents. See Conn. Gen. Life

Ins. Co. v. Comm’r of Internal Revenue, 177 F.3d 136, 145 (3d Cir. 1999). Even if the

exhibit is taken as a concession that METRC information does not directly verify cost of

goods sold, there is no evidence supporting petitioners’ conclusion that the information

is “not relevant to a determination of income and expenses.” See Docket No. 12 at 18.

In his Declaration, Revenue Agent Pringle explains that this information is “particularly

valuable during an audit” because it “can establish whether a marijuana business

properly reported its gross receipts and allowed deductions for cost of goods sold.” See

Docket No. 15-1 at 4, ¶¶ 13-14. The Court finds that the government has shown the



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information it seeks is relevant to its legitimate purpose of examining petitioners’ federal

tax liability.

        C. The IRS Does Not Already Have the Information Sought

        Revenue Agent Pringle states that the IRS did not possess the inf ormation

sought when he requested the summonses and that the MED has not produced the

requested information. Docket No. 15-1 at 5-6, ¶¶ 18-19, 26-27. As petitioners do not

challenge the government’s prima facie showing on this factor, the Court finds that the

government has shown that the IRS does not already have the information sought.

        D. Required Administrative Steps

        In its motion, the government provides the relevant written notices of audit

addressed to petitioners. Docket No. 15-2 at 7-8. Further, the g overnment provides

copies of the document requests, the summonses, and certifications that Revenue

Agent Pringle served the summonses and served notice on the taxpayers. Docket No.

15-2. Finally, Revenue Agent Pringle states that the summonses were issued in

compliance with the administrative steps required by the Internal Revenue Code.

Docket No. 15-1 at 5-6, ¶ 21, 29. Petitioners do not contest that this elem ent is

satisfied. See Docket No. 7. The Court finds that this element is satisfied and,

accordingly, that the government has met its burden under Powell.

        E. Lack of Good Faith or Abuse of Process

        Petitioners argue that, notwithstanding the government’s prima facie case, the

summonses should not be enforced because the IRS has not acted in good faith in

issuing the summonses. Docket No. 12 at 18-20. The Court rejects this argument for



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the reasons set forth in Medicinal Wellness Center I. See Medicinal Wellness Center I

at 9-10.

       Petitioners also argue that (1) enforcing the summonses would violate the

petitioners’ Fourth Amendment rights; (2) the summonses are unreasonable and

unenforceable because they are overbroad; (3) the summonses require the

commission of a state law crime; (4) the summonses force the MED to prepare

documents that do not exist; and (5) the requested transfer reports impermissibly seek

the identity of other third-party taxpayers. Docket No. 12 at 21-34. W ith the exception

of argument (5), the Court considered and rejected these arguments in Medicinal

Wellness Center I. See Medicinal Wellness Center I at 10-13. For the reasons set

forth in that order, the Court rejects arguments (1) through (4) in this case. See id.

       Petitioners’ new argument is that the summonsed “Transfer Reports” from the

MED “appear[] to be requesting the identity of third parties who may have dealt with the

[p]etitioners in the past.” Docket No. 12 at 34. Petitioners alleg e that the summonses

are actually “John Doe” summonses pursuant to 26 U.S.C. § 7609(f), and that the IRS

has not shown that the summonses are warranted under the statutory factors. Id. The

Court finds this argument misplaced. As the government and other courts in this district

have pointed out, § 7609(f) “only applies when the summons does not identify the

person with respect to whose liability the summons is issued.” See Rifle Remedies,

LLC v. United States, No. 17-mc-00062-RM, 2017 WL 6021421 at *3 (D. Colo. Oct. 26,

2017). Further, Revenue Agent Pringle explains that the purpose of transfer reports is

to show “the contents and timing of transferred inventory,” not who the recipients of the



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inventory are. See Docket No. 15-1 at 5, ¶ 15.

       If a taxpayer “cannot factually support a proper affirmative defense, the district

court should dispose of the proceeding on the papers before it and without an

evidentiary hearing” because holding such a hearing “would be a waste of judicial time

and resources.” Balanced Fin. Mgmt., 769 F.2d at 1444. Because petitioners have not

presented factual support for their claims that the IRS is not acting in good faith or is

abusing the process, the Court finds that petitioners have not met their burden and will

enforce the summonses. Therefore, petitioners’ petition to quash the summonses will

be dismissed.

III. CONCLUSION

       Accordingly, it is

       ORDERED that petitioners’ Amended Petition to Quash Summonses [Docket

No. 12] is DISMISSED. It is further

       ORDERED that the United States' Motion to Dismiss Amended Petition and

Enforce Summonses [Docket No. 15] is GRANTED. The summonses issued to the

Colorado Marijuana Enforcement Division are ENFORCED pursuant to 26 U.S.C.

§ 7604. It is further

       ORDERED that this case is closed.




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      DATED April 24, 2019.

                                  BY THE COURT:


                                   s/Philip A. Brimmer
                                  PHILIP A. BRIMMER
                                  Chief United States District Judge




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